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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
ANITA K. BYRD,                      )
       Plaintiff,                   )
                                    )
v.                                  )
                                    )                Case Number: 17-1919 (BAH)
SONNY PERDUE,                       )
Secretary of Agriculture,           )
       Defendant.                   )
                                    )
____________________________________)

                                            ANSWER

        COMES NOW defendant, Sonny Perdue, in his official capacity as Secretary of the

United States Department of Agriculture (hereinafter referred to as “Defendant”), by and through

the United States Attorney for the District of Columbia, who hereby answers the allegations

brought against him in the Complaint filed by the Plaintiff Anita K. Byrd (hereinafter referred to

as “Plaintiff”):

                                        FIRST DEFENSE

        Plaintiff failed to contact an Equal Employment Opportunity counselor within forty-five

(45) days regarding her Title VII claims, pursuant to 29 C.F.R. § 1614.105(a)(1).

                                        SECOND DEFENSE

        Plaintiff cannot establish a prima facie case of disparate treatment based on race (African

American) discrimination pursuant to Title VII.

                                        THIRD DEFENSE

        Plaintiff cannot establish a prima facie case of disparate treatment based on sex (female)

discrimination pursuant to Title VII.
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                                        FOURTH DEFENSE

       Plaintiff cannot establish a prima facie case of retaliation (prior EEO activity) under Title

VII.

                                         FIFTH DEFENSE

       Plaintiff cannot establish a prima facie case of gender discrimination under the Equal Pay

Act.

                                         SIXTH DEFENSE

       For all allegations of discrimination based on race, sex, and/or reprisal for which Plaintiff

has provided a prima facie case, Defendant has legitimate, non-discriminatory reasons for its

actions, and the Plaintiff has not demonstrated any evidence of pretext.

                                        SEVENTH DEFENSE

       For all allegations of discrimination based on gender for which Plaintiff has provided a

prima facie case under the Equal Pay Act, Defendant maintains that Plaintiff’s pay disparity was

justified by a factor other than sex.

                                        EIGHTH DEFENSE

       Defendant reserves the right to assert affirmatively any other defense that constitutes an

avoidance or affirmance under Federal Rule of Civil Procedure 8(c). Defendant asserts all

applicable statutory limitations with respect to Plaintiff’s damage claims.

                                         NINTH DEFENSE

       Defendant responds to the specifically-numbered paragraphs and prayer for relief set forth

in the Complaint as follows:



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                                           COMPLAINT

1.     This paragraph constitutes Plaintiff’s articulation of the laws under which this action is

brought to which no response is necessary. To the extent a response may be required, Defendant

admits that Plaintiff seeks to pursue this matter under the cited authority but denies that the

allegations raised in the Complaint support a cause of action in this court.

                                         JURISDICTION

2.     This paragraph is a statement of jurisdiction to which no response is required. To the

extent a response may be required, Defendant advises that he is not contesting jurisdiction at this

time but denies all other allegations contained in this paragraph.

                                              VENUE

3.     This paragraph is a statement of venue to which no response is required. To the extent a

response may be required, Defendant advises that he is not contesting venue at this time but

denies all other allegations contained in this paragraph.



                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

4.     Denied. Plaintiff failed to timely initiate EEO counseling prior to bringing this action.

                                               PARTIES


5.     Admit.

6.     Admit.




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                                   STATEMENT OF FACTS

7.     Admit.

8.     Deny. Robert J. Schappert, III (Caucasian, Male, Prior EEO activity: Witness) served as

the Director of Emergency Response and Continuity Programs, GS-15, Office of the Chief

Information Officer, Natural Resources Conservation Service. Defendant with without sufficient

information to admit or deny that exact date Mr. Schappert retired.

9.     Deny the first two sentences. Deny to the extent Plaintiff asserts she acted as the

Emergency Response Officer, admit the Director of Emergency Response and Continuity

Programs position was not downgraded or reclassified to a lower grade between April 1, 2015;

through April 14, 2016.

10.    Deny to the extent Plaintiff performed substantially the same duties as Mr. Schappert

before he retired. Admit Plaintiff was compensated at the GS-14 level, and Mr. Schappert was

compensated at the GS-15 level.

11.    Deny to the extent Mr. Christensen was aware of Plaintiff’s prior protected activity on or

before April 14, 2016. Admit Mr. Coleman was aware of Plaintiff’s prior protected activity on or

before April 14, 2016. Deny to the extent the paragraph implies Plaintiff was entitled to receive

compensation at the GS-15 level at any time.

12.    Deny.

                                  STATEMENT OF CLAIMS

13.    Defendant reasserts all responses to each and every allegation set forth in paragraphs 1-

12, and further denies this paragraph.



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14.     This paragraph contains Plaintiff’s legal conclusions and characterizations of her lawsuit, to

which no response is required. To the extent a response is deemed required, Defendant denies that it

violated the Equal Pay Act.

15.     This paragraph contains Plaintiff’s legal conclusions and characterizations of her lawsuit to

which no response is required. To the extent a response is deemed required, Defendant denies

Plaintiff is entitled to any damages.

                                        REQUEST FOR RELIEF

        (a-c; e-g [sic]) Plaintiff’s request for relief requires no response, but to the extent a

response is deemed required, Plaintiff is not entitled to damages of any nature, including, but not

limited to, declaratory relief, attorneys’ fees, costs of suit, or compensatory damages. Defendant

denies that Plaintiff is entitled to the relief sought in the Complaint or to any relief whatsoever.

                                           JURY DEMAND

        Defendant denies that Plaintiff is entitled to a jury trial except as to those claims that may

properly be asserted under Title VII.

        All allegations contained in the Complaint not heretofore specifically admitted, modified;

or denied are hereby denied.




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                                 Respectfully submitted,

                                 JESSIE D. LIU , DC Bar # 472845
                                 United States Attorney for the District of
                                   Columbia

                                 DANIEL F. VAN HORN, DC Bar # 924092
                                 Chief, Civil Division

                                    _________________________________
                                 PATRICIA K. MCBRIDE, PA Bar # 54561
                                 Assistant United States Attorney
                                 Civil Division
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                                 Email: patricia.mcbride@usdoj.gov

                                 Attorneys for Defendant




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 21st day of November 2017, a true and correct copy of

the foregoing Answer to the Complaint was served via the Court’s ECF system upon counsel for

Plaintiff:

Ellen Renaud, Esq.
Swick & Shapiro, P.C.
1101 15th Street, N.W.
Suite 205
Washington, D.C. 20005

Attorney for Plaintiff
                                          Respectfully submitted,
                                              _________________________________
                                          PATRICIA K. MCBRIDE, PA Bar # 54561
                                          Assistant United States Attorney




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